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CITY AND COUNTY OF HONOLULU

                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I

 JOSHUA SPRIESTERSBACH,                  CIVIL NO. 21-00456 LEK-RT
            Plaintiff,                   STIPULATED PROTECTIVE
      vs.                                ORDER; EXHIBIT “A”

 STATE OF HAWAI‘I, CITY AND
 COUNTY OF HONOLULU, OFFICER
 ABRAHAM K. BRUHN,
 DEPARTMENT OF PUBLIC SAFETY,
 OFFICE OF THE PUBLIC DEFENDER,
 NIETZSCHE LYNN TOLAN,
 MICHELLE MURAOKA, LESLIE
 MALOIAN, JACQUELINE ESSER,
 JASON BAKER, MERLINDA GARMA,
 SETH PATEK, DR. JOHN COMPTON,
 DR. MELISSA VARGO, DR. SHARON
 TISZA, HAWAI‘I STATE HOSPITAL,
 DR. ALLISON GARRETT, and
 JOHN/JANE DOES 1-20,                    Trial Date: None.
            Defendants.
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                     STIPULATED PROTECTIVE ORDER

      Pursuant to F.R.C.P. Rule 26 and LR10.5, it is hereby stipulated, by and

between the parties hereto, through their respective counsel, that the following

procedure shall apply to documents, records, and other information which is, are,

or will be produced, disclosed, or obtained in this case. In order to protect the

confidentiality of confidential, personal, and/or private information obtained by the

parties in connection with this case, the parties hereby agree as follows:

      1.     Any party or non-party may designate as “confidential” (by stamping

the relevant page or otherwise set forth herein) any document, response to

discovery, deposition, or other information which that party or non-party considers

in good faith to contain information involving confidential, personal, private,

and/or protected health information, trade secrets, proprietary interests, and/or

business or financial information, subject to protection under the Federal Rules of

Civil Procedure or Hawai`i law (“Confidential Information”).

      Each page shall be marked “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” or similar wording on every page of the protected

documents to indicate that the material is confidential and to ensure that counsel,

paralegals, support staff, the parties, witnesses, consultants and experts are given

notice that such documents and information are to be treated as covered by this

Protective Order.



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      For the purposes of discovery in this action “Joshua Spriestersbach” means

the plaintiff both when identified or referred to as Joshua Spriestersbach and/or

when identified or referred to as Joshua Castleberry, Thomas Castleberry, Thomas

C. Castleberry, Thomas R. Castleberry, William Castleberry, and William C.

Castleberry.

      2.       A party or non-party may designate information disclosed during a

deposition or in response to document and/or written discovery as “confidential”,

by so indicating in said response or on the record at the deposition and requesting

the preparation of a separate transcript of such material. Additionally, a party or

non-party may designate in writing, within twenty (20) days after receipt of said

responses or of the deposition transcript for which the designation is proposed, that

specific pages of the transcript and/or specific responses be treated as

“confidential” information. Any other party may object to such proposal, in

writing or on the record. Upon such objection, the parties shall follow the

procedures described in paragraph 8 of this Protective Order. After any

designation made according to the procedure set forth in paragraph 8 herein, the

designated documents or information shall be treated according to the designation,

until the matter is resolved according to the procedures described in paragraph 8

below, and counsel for all parties shall be responsible for marking all previously

unmarked copies of the designated material in their possession or control with the



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specified designation.

       3.     All information produced, exchanged, or obtained in the course of this

case and that is subject to this Protective Order (other than information publicly

available), shall be used by the party or parties to whom the information is

produced solely for the purpose of litigating this case.

       4.     Except with the prior written consent of other parties, or upon prior

order of this Court obtained upon notice to all other parties and/or their counsel,

Confidential Information shall not be disclosed to any person other than:

              (a)   counsel for the respective parties to this litigation, including in-

house counsel and co-counsel retained for this litigation;

              (b)   employees of such counsel;

              (c)   individual defendants, any officer or employee of a party, to the

extent deemed necessary by counsel for the prosecution or defense of this

litigation;

              (d)   consultants or expert witnesses retained for the prosecution or

defense of this litigation, provided that each such person shall first read and

execute a copy of the Certification annexed to this Protective Order as Exhibit “A”

(which shall be retained by counsel to the party so disclosing the Confidential

Information and made available for inspection by opposing counsel during the

pendency or after the termination of the action only upon good cause shown and



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upon order of the Court);

             (e)    any authors of the Confidential Information;

             (f)    the Court, Court personnel, and court reporters;

             (g)    witnesses (other than persons described in paragraph 4(e)). A

witness shall sign the Certification before being shown a confidential document.

Confidential Information may be disclosed to a witness who will not sign the

Certification only in a deposition at which the party who designated the

Confidential Information is represented or has been given notice that Confidential

Information shall be designated “Confidential” pursuant to paragraph 2 above.

Witnesses shown Confidential Information shall not be allowed to retain copies;

and

             (h)    any mutually agreed upon or court-appointed mediator.

      5.     Any persons receiving Confidential Information shall not reveal or

discuss such information to or with any person who is not entitled to receive such

information, except as set forth herein.

      6.     No party or non-party shall file or submit for filing as part of the court

record any documents under seal without first obtaining leave of court.

Notwithstanding any agreement among the parties, the party seeking to file a paper

under seal bears the burden of overcoming the presumption in favor of public

access to papers filed in court.



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       7.     A party may designate as “Confidential” documents or discovery

materials produced by a non-party by providing written notice to all parties of the

relevant document numbers or other identification within thirty (30) days after

receiving such documents or discovery materials. Any party or non-party may

voluntarily disclose to others without restriction any information designated by that

party or non-party as confidential, although a document may lose its confidential

status if it is made public.

       8.     If a party contends that any material is not entitled to confidential

treatment, such party may at any time give written notice to the party or non-party

who designated the material. The party or non-party who designated the material

shall have twenty-five (25) days from the receipt of such written notice to apply to

the Court for an order designating the material as confidential. The party or non-

party seeking an order designating the material as confidential has the burden of

establishing that the document is entitled to protection.

       9.     Notwithstanding any challenge to the designation of material as

Confidential Information, all documents designated as confidential shall be treated

as such and shall be subject to the provisions hereof, unless and until one of the

following occurs:

              (a)    the party or non-party who claims that the material is

Confidential Information withdraws such designation in writing; or



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              (b)    the party or non-party who claims that the material is

Confidential Information fails to apply to the Court for an order designating the

material confidential within the time period specified above after receipt of a

written challenge to such designation; or

              (c)    the Court rules the material is not confidential.

       10.    All provisions of this Order restricting the communication or use of

Confidential Information shall continue to be binding after the conclusion of this

action, unless otherwise agreed or ordered. Upon conclusion of the litigation, a

party in the possession of Confidential Information, other than that which is

contained in pleadings, correspondence, and deposition transcripts, shall either (a)

return such documents no later than thirty (30) days after conclusion of this action

to counsel for the party or non-party who provided such information, or (b) destroy

such documents within the time period upon consent of the party who provided the

information and certify in writing within thirty (30) days that the documents have

been permanently destroyed.

       11.    The terms of this Protective Order do not preclude, limit, restrict, or

otherwise apply to the use of ‘Confidential’ documents and materials at mediation,

arbitration, and/or at trial.

       12.    Nothing herein shall be deemed to waive any applicable privilege or

work product protection, or to affect the ability of a party to seek relief for an



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inadvertent disclosure of material protected by privilege or work product

protection.

      13.     Any witness or other person, firm or entity from which discovery is

sought may be informed of and may obtain the protection of this Protective Order

by written advice to the parties’ respective counsel or by oral advice at the time of

any deposition or similar proceeding.

      DATED: Cincinnati, Ohio, May 16, 2022.

                                   /s/ Alphonse A. Gerhardstein
                                   JENNIFER BROWN
                                   ALPHONSE A. GERHARDSTEIN
                                   JACQUELINE GREENE
                                   PAUL HOFFMAN
                                   JOHN WASHINGTON
                                   Attorneys for Plaintiff
                                   JOSHUA SPRIESTERSBACH


      DATED: Honolulu, Hawai‘i, May 16, 2022.

                                   /s/ Lois H. Yamaguchi
                                   ARTHUR F. ROECA
                                   LOIS H. YAMAGUCHI
                                   Attorneys for Defendant
                                   DR. ALLISON GARRETT




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      DATED: Honolulu, Hawai‘i, May 16, 2022.

                                /s/ Edquon Lee
                                THOMAS E. COOK
                                EDQUON LEE
                                Attorneys for Defendant
                                DR. SHARON TISZA


      DATED: Honolulu, Hawai‘i, May 16, 2022.

                                /s/ Justine Hura
                                MARIE MANUELE GAVIGAN
                                DAVID N. MATSUMIYA
                                JUSTINE HURA
                                Deputy Attorneys General
                                Attorneys for Defendants
                                OFFICE OF THE PUBLIC DEFENDER,
                                NIETZSCHE LYNN TOLAN, MICHELE
                                MURAOKA, LESLEY MALOIAN,
                                JACQUELYN ESSER, JASON BAKER,
                                MERLINDA GARMA, AND SETH PATEK


      DATED: Honolulu, Hawai‘i, May 16, 2022.

                                /s/ Kendall J. Moser
                                CARON M. INAGAKI
                                KENDALL J. MOSER
                                Deputy Attorneys General
                                Attorneys for Defendants
                                STATE OF HAWAI‘I, DEPARTMENT OF
                                PUBLIC SAFETY, DR. JOHN COMPTON,
                                DR. MELISSA VARGO, AND HAWAII STATE
                                HOSPITAL

Civ. No. 21-00456 LEK-RT; Joshua Spriestersbach v. State of Hawaii, et al.,
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 DATED: Honolulu, Hawai‘i, May 16, 2022.

                                 DANA M.O. VIOLA
                                 Corporation Counsel
                                 By: /s/ Richard D. Lewallen
                                      ROBERT M. KOHN
                                      RICHARD D. LEWALLEN
                                      Deputy Corporation Counsel
                                      Attorneys for Defendant
                                      CITY AND COUNTY OF HONOLULU


 APPROVED AND SO ORDERED:

 DATED: Honolulu, Hawaii, May 17, 2022.




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                                  CERTIFICATION
       By my signature below, I hereby certify my understanding that Confidential

 Information is being provided to me pursuant to the terms and restrictions of the

 Stipulated Protective Order entered on __________________, in Joshua

 Spriestersbach v. State of Hawaii, et al., Civil No. 21-00456 LEK-RT, in the

 United States District Court for the District of Hawaii. I have been given a copy of

 that Protective Order and read it. I agree to be bound by the Protective Order. I

 will not reveal the Confidential Information to anyone, except as allowed by the

 Protective Order. I will maintain all such Confidential Information –- including

 copies, notes, excerpts, or other transcriptions made therefrom –- in a secure

 manner to prevent unauthorized access to it. No later than thirty (30) days after the

 conclusion of this action, I will return the Confidential Information –- including

 copies, notes, excerpts, or other transcriptions made therefrom – to the counsel

 who provided me with the Confidential Information. I hereby consent to the

 jurisdiction of the United States District Court for the District of Hawaii, for the

 purpose of enforcing the Protective Order.

 Signature:
 Print Name:                                           Date:
 Address:

 Telephone No.:

                                   EXHIBIT “A”


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